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                                  UNITED STATES DISTRICT COURT
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                                 NORTHERN DISTRICT OF CALIFORNIA
 9
                                        OAKLAND DIVISION
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11
                                                 Case No. 13-MD-02420 YGR
12 In re: LITHIUM ION BATTERIES
     ANTITRUST LITIGATION                        MDL No. 2420
13
                                                 STIPULATION AND [PROPOSED]
14                                               ORDER DISMISSING CERTAIN
     This Document Relates to:                   CLAIMS IN INDIRECT PURCHASER
15                                               PLAINTIFFS’ CONSOLIDATED
        ALL INDIRECT PURCHASER                   AMENDED COMPLAINT
16      ACTIONS
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     SMRH:418133290.3                          STIPULATION AND [PROPOSED] ORDER DISMISSING
                                               CERTAIN INDIRECT PURCHASER PLAINTIFF CLAIMS
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 1           WHEREAS, as directed by the Court, the parties in the Indirect Purchaser actions have met
 2 and conferred in in an effort to narrow and simplify the issues to be presented on the forthcoming
 3 Phase II of Defendants’ Joint Motion to Dismiss the Indirect Purchaser Plaintiffs’ (“IPPs’”)
 4 Consolidated Amended Complaint (“IPP-CAC”); and
 5           WHEREAS, as part of those meet and confer efforts, Defendants have agreed not to move
 6 to dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure (1) the IPPs’ claim under
 7 the Florida Deceptive and Unfair Trade Practices Act on the grounds that it is not pled with
 8 sufficient particularity; and (2) the IPPs’ claim under Nebraska’s Junkin Act on the grounds that
 9 the IPPs may not obtain damages allegedly incurred before Nebraska repealed the bar on indirect
10 purchaser standing set forth by Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977), although
11 Defendants reserve their right to assert these arguments in other actions in this multi-district
12 litigation or any other related case; and
13           WHEREAS, the IPPs have similarly agreed to voluntarily dismiss certain claims asserted
14 in the IPP-CAC, as set forth below;
15           IT IS HEREBY STIPULATED AND AGREED, by and between counsel for the
16 undersigned Plaintiffs and Defendants, as follows:
17           1.         Defendants shall not move to dismiss under Rule 12(b)(6) of the Federal Rules of
18 Civil Procedure (1) the IPPs’ claim under the Florida Deceptive and Unfair Trade Practices Act on
19 the grounds that it is not pled with sufficient particularity; and (2) the IPPs’ claim under
20 Nebraska’s Junkin Act on the grounds that the IPPs may not obtain damages allegedly incurred
21 before Nebraska repealed the bar on indirect purchaser standing set forth by Illinois Brick Co. v.
22 Illinois, 431 U.S. 720 (1977), without prejudice to Defendants’ right to assert these arguments in
23 other actions in this multi-district litigation or any other related case; and
24           2.         The following claims in the IPP-CAC are voluntarily dismissed pursuant to Rule
25 41(a)(1) of the Federal Rules of Civil Procedure:
26                      a.    The IPPs’ damages claims under Puerto Rico law, see IPP-CAC, ¶¶ 293,
27 354, 401, 411(v), 466;                             -- 1 --
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 1                      b.   The IPPs’ damages claims under New Hampshire law to the extent the
 2 alleged damages accrued before January 1, 2008, the effective date of New Hampshire’s Illinois
 3 Brick repealer statute, see IPP-CAC, ¶¶ 402, 411(p); and
 4                      c.   The IPPs’ damages claims under Utah law to the extent the alleged damages
 5 accrued before May 1, 2006, the effective date of Utah’s Illinois Brick repealer statute, see IPP-
 6 CAC, ¶¶ 402, 411(z).
 7           3.     The above dismissals shall be properly reflected in the IPPs’ Second Consolidated
 8 Amended Complaint.
 9
10 IT IS SO ORDERED.
11
12 Dated: March 7, 2014
                                                   YVONNE GONZALEZ ROGERS
13                                                 UNITED STATES DISTRICT JUDGE
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 1                                      E-FILING ATTESTATION
 2
             I, Michael W. Scarborough, am the ECF User whose ID and password are being used to
 3
     file this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the
 4
     signatories identified above has concurred in this filing.
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 6
                                                   /s/ Michael W. Scarborough
 7                                                 Michael W. Scarborough
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